Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1508 Filed 10/07/24 Page 1 of 29




                          UNITED STATES DISTRICT COURT FOR
                          THE EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

Katrina Bergunder,
Plaintiff,                                                                      Case No. 23-12886
v.                                                                               Hon. Sean F. Cox
JPMorgan Chase Bank, N.A.,
Defendant.

 Katrina Bergunder                                 Aimee R. Gibbs (P70522)
 24674 Republic Ave                                Davina A. Bridges (P85597)
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           PLAINTIFF’S REPLY FOR MOTION FOR SUMMARY JUDGEMENT and
             RESPONSE TO DEFENDANT’S CROSS MOTION FOR SUMMARY
                                  JUDGEMENT
Plaintiff Katrina Bergunder submits this reply to Defendant JPMorgan Chase Bank, N.A.'s

("Chase") response to her motion for summary judgment. In their response, Chase misrepresents

the implications of the state court’s dismissal with prejudice and fails to meet their obligations

under the Federal Rules of Civil Procedure.

                                                                            Respectfully submitted,

                                                                        By:_/s/ Katrina Bergunder
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Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1509 Filed 10/07/24 Page 2 of 29




                                 UNITED STATES DISTRICT COURT FOR
                                 THE EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION

Katrina Bergunder,
Plaintiff,                                                                                                Case No. 23-12886
v.                                                                                                         Hon. Sean F. Cox
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             PLAINTIFF’S BRIEF IN SUPPORT OF PLAINTIFF’S REPLY FOR MOTION
             FOR SUMMARY JUDGEMENT and RESPONSE TO DEFENDANT’S CROSS
                           MOTION FOR SUMMARY JUDGEMENT

                                                     TABLE OF CONTENTS


PLAINTIFF’S REPLY FOR MOTION FOR SUMMARY JUDGEMENT and RESPONSE
TO DEFENDANT’S CROSS MOTION FOR SUMMARY JUDGEMENT ........................... 1
PLAINTIFF’S BRIEF IN SUPPORT OF PLAINTIFF’S REPLY FOR MOTION FOR
SUMMARY JUDGEMENT and RESPONSE TO DEFENDANT’S CROSS MOTION FOR
SUMMARY JUDGEMENT ......................................................................................................... 2
TABLE OF CONTENTS ................................................................................................................ 2
TABLE OF AUTHORITIES ........................................................................................................... 3
STAEMENT OF QUESTIONS PRESENTED............................................................................... 5
MOST APPROPRIATE AUTHORITIES ....................................................................................... 6
   I. Introduction and Background .................................................................................................. 7
   II. The State Court Dismissal Order With Prejudice Extinguishes the Debt .............................. 8
   III. Chase Failed to Conduct Reasonable Investigations ...........................................................11

                                                                                                                                    2
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1510 Filed 10/07/24 Page 3 of 29




   IV. The Reported Amount Was Challenged, Not Proven .......................................................... 12
   V. Failure to Establish a Valid Contract .................................................................................... 14
   VII. Defendant's Evidence is Inadmissible ............................................................................... 17
   VIII. Chase Claims They Issued A Credit Card to a Minor ...................................................... 18
   IX. Uniqueness of the Case ....................................................................................................... 19
   X. Conclusion ........................................................................................................................... 20
LIST AND INDEX OF APPENDIXES AND EXHIBITS ........................................................... 21
Certificate of Service .................................................................................................................... 23
PLAINTIFF’S COUNTER-STATEMENT OF DISPUTED FACTS ........................................... 24
NO GENUINE ISSUES OF MATERIAL FACT.......................................................................... 27
Certificate of Service .................................................................................................................... 29
Appendix A-T……………………………………………………………….…………………...30
Exhibits A-G………………………………………….………………………………………...112



                                                      TABLE OF AUTHORITIES

Cases

         Grimmer v. Lee, 310 Mich. App. 95, 872 N.W.2d 725 (Mich. Ct. App. 2015)

         Jones v. Aberdeen Proving Ground Federal Credit Union, Dist. Court, D. Maryland 2022

         Wilcox v. Servis One, Inc., Dist. Court, D. Maryland 2020

         Epps v. Fowler, 351 SW 3d 862 - Tex: Supreme Court 2011

         Sheets v. Yamaha Motors Corp., USA, 891 F. 2d 533 - Court of Appeals, 5th Circuit

          1990

         Peek v. SunTrust Bank, Inc., 313 F. Supp. 3d 201 - Dist. Court, Dist. of Columbia 2018

         Santos v. Healthcare Revenue Recovery Group, LLC, 90 F. 4th 1144 - Court of Appeals,

          11th Circuit 2024

         Daniel v. Midland Funding, LLC, Dist. Court, ED Michigan 2016



                                                                                                                                             3
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1511 Filed 10/07/24 Page 4 of 29




       Barr v. Resolution Trust Corp. ex rel. Sunbelt Federal Savings, 837 S.W.2d 627 (Tex.

        1992)

       Carmona v. Toledo, 215 F.3d 124, 131 (1st Cir. 2000)

       Orr v. Bank of Am., NT & SA, 285 F.3d 764, 773 (9th Cir. 2002)

       Franklin v. Dominion Energy Incorporated, Dist. Court, D. Maryland 2022

       Bouler v. TransUnion, LLC, Dist. Court, SD Texas 2019

       Caruso v. National Recovery Agency, Dist. Court, SD California 2017 .

Statutes

       15 U.S.C. § 1681i

       15 U.S.C. § 1692d

       15 U.S.C. § 1692e(10)

       Mich. Comp. Laws § 445.1851-445.1864 (2024)

       Mich. Comp. Laws § 445.1856(1)(c) (2024)

       Mich. Comp. Laws § 445.1861 (1)(c)

Rules

       Federal Rule of Civil Procedure 26(a)

       Federal Rule of Civil Procedure 37(c)(1)

       Federal Rule of Civil Procedure 56(c)(4)

       Federal Rule of Evidence 901(a)

Other Authorities

       Michigan Debt Collection Data Dashboard, January Advisors

       Consumer Financial Protection Bureau, Consent Order, File No. 2015-CFPB-0013 (July

        8, 2015)



                                                                                               4
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1512 Filed 10/07/24 Page 5 of 29




      Michigan Model Civil Jury Instructions (M Civ JI 6.01)


                             STAEMENT OF QUESTIONS PRESENTED

 Whether Chase’s continued reporting of a debt, which was dismissed with prejudice on the

merits by the Michigan 45th District Court, constitutes a violation of the Fair Credit Reporting

Act (FCRA) by inaccurately reflecting the status of the extinguished debt. Plaintiff says yes.

 Whether the state court's dismissal with prejudice on the merits acts as an adjudication that

extinguishes the underlying debt, thus precluding Chase from further reporting or collecting on

the alleged debt. Plaintiff says yes.

 Whether Chase failed to conduct a reasonable investigation into the accuracy of its reporting

obligations under the FCRA, given that the state court dismissed the debt with prejudice on the

merits and Chase failed to acknowledge this ruling during investigations and reinvestigations.

Plaintiff says yes.

 Whether Chase violated Rule 26 of the Federal Rules of Civil Procedure by submitting

evidence not disclosed during discovery, thereby prejudicing the Plaintiff’s ability to review and

challenge said evidence. Plaintiff says yes.

 Whether Chase’s submission of unauthenticated documents and exhibits in support of its

opposition to Plaintiff’s Motion for Summary Judgment and Cross Motion for Summary

Judgement violates the Federal Rules of Evidence, making the evidence inadmissible. Plaintiff

says yes.

 Whether Chase’s imposition of excessive fees beyond the limits established by Michigan law

after violating the Truth in Lending Act (TILA) further invalidates the accuracy of the reported

debt. Plaintiff says yes.



                                                                                                   5
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1513 Filed 10/07/24 Page 6 of 29




 Whether Chase’s failure to produce the original contract governing the alleged debt after

multiple court orders to do so supports Plaintiff’s claim that Chase lacked sufficient evidence to

report the debt. Plaintiff says yes and it supported by the dismissal with prejudice on the

merits.


                                MOST APPROPRIATE AUTHORITIES

Cases

         Grimmer v. Lee, 310 Mich. App. 95, 872 N.W.2d 725 (Mich. Ct. App. 2015)

         Carmona v. Toledo, 215 F.3d 124, 131 (1st Cir. 2000)

         Jones v. Aberdeen Proving Ground Federal Credit Union, Dist. Court, D. Maryland 2022

         Santos v. Healthcare Revenue Recovery Group, LLC, 90 F. 4th 1144 (11th Cir. 2024)

         Wilcox v. Servis One, Inc., Dist. Court, D. Maryland 2020

         Epps v. Fowler, 351 SW 3d 862 (Tex. Sup. Ct. 2011)

Statutes

         15 U.S.C. § 1681i – Fair Credit Reporting Act (FCRA)

         Truth in Lending Act (TILA), 15 U.S.C. § 1601 et seq.

         MCL § 445.1851 – 445.1864 – Michigan Credit Reform Act

Rules

         Federal Rule of Civil Procedure 26 – Duty to Disclose

         Federal Rule of Civil Procedure 56(c)(4) – Affidavits and Declarations

         Federal Rule of Evidence 901(a) – Requirement of Authentication




                                                                                                     6
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1514 Filed 10/07/24 Page 7 of 29




I. Introduction and Background


Plaintiff Katrina Bergunder submits this reply to Defendant JPMorgan Chase Bank, N.A.'s

("Chase") response to her motion for summary judgment. In their response, Chase misrepresents

the implications of the state court’s dismissal with prejudice and fails to meet their obligations

under the Federal Rules of Civil Procedure.


On January 7, 2022, Chase filed a collection lawsuit in Michigan’s 45th District Court, seeking

to recover an alleged debt against Katrina Bergunder (“State Court Case”). Bergunder raised

several defenses including fraud, invalid contract, and incorrect amount (Bergunder v. JPMorgan

Chase Bank, N.A., No. 2:23-cv-12886-SFC-EAS, ECF No. 34-4, PageID.850-851, (E.D. Mich.

Sept. 2, 2024), Appendix A). Throughout the course of the lawsuit, the court demanded that

Chase produce evidence of a valid contract supporting its claim, but Chase failed and refused to

provide sufficient documentation (Bergunder v. JPMorgan Chase Bank, N.A., No. 2:23-cv-

12886-SFC-EAS, ECF No. 34-6, PageID.856-857, (E.D. Mich. Sept. 2, 2024) and Bergunder v.

JPMorgan Chase Bank, N.A., No. 2:23-cv-12886-SFC-EAS, ECF No. 34-10, PageID.856, (E.D.

Mich. Sept. 2, 2024) Appendix B & C). The 45th District Court dismissed the case with

prejudice on the merits and at trial on February 21, 2023 (Bergunder v. JPMorgan Chase Bank,

N.A., No. 2:23-cv-12886-SFC-EAS, ECF No. 34-11, PageID.867-871 & ECF 34-12,

PageID.873, (E.D. Mich. Sept. 2, 2024) Appendix D & E).


Despite the court’s ruling, Chase continued to report the alleged debt to credit reporting agencies,

negatively affecting Plaintiff’s credit. In response, Plaintiff initiated 3 disputes (Bergunder v.

JPMorgan Chase Bank, N.A., No. 2:23-cv-12886-SFC-EAS, ECF No. 34-13, PageID.875, ECF

No. 34-14, PageID.878, & ECF 34-15, PageID.881, (E.D. Mich. Sept. 2, 2024), Appendix F), 3

                                                                                                     7
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1515 Filed 10/07/24 Page 8 of 29




reinvestigation (Bergunder v. JPMorgan Chase Bank, N.A., No. 2:23-cv-12886-SFC-EAS, ECF

No. 34-21, PageID.910-914, ECF No. 34-22, PageID.916-920, & ECF 34-23, PageID.922-926,

(E.D. Mich. Sept. 2, 2024), Appendix G), and 2 direct letters to Chase regarding the accuracy of

the reported debt (Bergunder v. JPMorgan Chase Bank, N.A., No. 2:23-cv-12886-SFC-EAS,

ECF No. 34-20, PageID.904-908 & ECF No. 34-24, PageID.928-929, (E.D. Mich. Sept. 2,

2024), Appendix H); but received no satisfactory resolution (Bergunder v. JPMorgan Chase

Bank, N.A., No. 2:23-cv-12886-SFC-EAS, ECF No. 34-2, PageID.840-844, (E.D. Mich. Sept. 2,

2024), Appendix I). Chase maintained that its reporting was accurate, despite the state court's

dismissal with prejudice on the merits (Bergunder v. JPMorgan Chase Bank, N.A., No. 2:23-cv-

12886-SFC-EAS, ECF No. 34-16, PageID.883, ECF 34-18, PageID.989, ECF 34-19,

PageID.902, ECF 34-27 , PageID.936, ECF 34-28, PageID.945, & ECF 34-29, PageID.951 (E.D.

Mich. Sept. 2, 2024), Appendix L-Q). As such, Plaintiff had no other options except to file a

complaint in November of 2023.

In September 2024, Plaintiff, now representing herself pro se, filed a motion for summary

judgment, asserting that Chase’s continued reporting of the debt violated the Fair Credit

Reporting Act (FCRA) due to the state court’s dismissal with prejudice which serves as an

adjudication on the merits.


II. The State Court Dismissal Order With Prejudice Extinguishes the Debt


Chase asserts that the dismissal with prejudice does not extinguish the underlying debt.

However, the state court’s dismissal specifically addressed the merits of the case and determined

that there was no valid basis for the debt. A dismissal with prejudice functions as a final

adjudication on the merits, leaving no room for Chase to relitigate or assert the validity of the



                                                                                                    8
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1516 Filed 10/07/24 Page 9 of 29




debts supported by Grimmer v. Lee, 310 Mich. App. 95, 872 N.W.2d 725 (Mich. Ct. App. 2015)

(Bergunder v. JPMorgan Chase Bank, N.A., No. 2:23-cv-12886-SFC-EAS, ECF No. 34-44,

PageID.1243-1246, at 2-5 (E.D. Mich. Sept. 2, 2024); Appendix J). Therefore, Chase’s

continued reporting of the debt is not only factually inaccurate but also a violation of the Fair

Credit Reporting Act (FCRA).

The Jones v. ABERDEEN PROVING GROUND FEDERAL CREDIT UNION, Dist. Court, D.

Maryland 2022 case is highly relevant. In The Jones v. ABERDEEN PROVING GROUND

FEDERAL CREDIT UNION, the court found that once a judgment had been satisfied, the

creditor no longer had the right to pursue the debt or report it as outstanding. Similarly, in my

case, the debt was dismissed with prejudice, which functions as a final judgment. Any attempt by

Chase to continue reporting the debt as unpaid is legally inaccurate, as the debt has been

extinguished through the court’s dismissal on the merits with prejudice. This ongoing

misreporting by Chase is a violation of the FCRA, as Chase is reporting false information after

the debt has been legally extinguished..

Furthermore, the decision in Wilcox v. SERVIS ONE, INC., Dist. Court, D. Maryland 2020

reinforces that the dismissal with prejudice represents a final determination that the debt is no

longer owed. It is not merely a procedural resolution; it is a substantive conclusion that

extinguishes the debt. Chase’s actions are in direct conflict with the legal finality established by

the state court's order.

The Epps v. Fowler, 351 SW 3d 862 - Tex: Supreme Court 2011 decision from the Texas

Supreme Court strengthens this position by clearly distinguishing between dismissals with and

without prejudice. A dismissal with prejudice, as in Plaintiff’s case, alters the legal relationship

between the parties and prevents future litigation on the same claims. It extinguishes the



                                                                                                       9
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1517 Filed 10/07/24 Page 10 of 29




 underlying debt, which means that Chase’s continued reporting of this debt contradicts the legal

 outcome. The ruling in Epps v. Fowler confirms that a dismissal with prejudice has a res judicata

 effect, barring any future claims related to the extinguished debt.

 Additionally, the case of Sheets v. Yamaha Motors Corp., USA, 891 F. 2d 533 - Court of

 Appeals, 5th Circuit 1990 supports the argument that a dismissal with prejudice constitutes a

 final judgment on the merits. In my context, this reinforces that the debt has been legally

 extinguished and should not be reported as valid by Chase. The Peek v. SunTrust Bank, Inc., 313

 F. Supp. 3d 201 - Dist. Court, Dist. of Columbia 2018 case further emphasizes the principle of

 res judicata, preventing related claims from being litigated again once a case has been dismissed

 with prejudice. This principle applies to Chase's actions in continuing to report the extinguished

 debt.

 Moreover, under the FCRA, furnishers like Chase must ensure that the information they report is

 accurate and complies with reasonable procedures to ensure "maximum possible accuracy." The

 case of Santos v. HEALTHCARE REVENUE RECOVERY GROUP, LLC, 90 F. 4th 1144 - Court

 of Appeals, 11th Circuit 2024 reinforces that willful violations of the FCRA do not require proof

 of actual damages for a consumer to recover statutory damages. In of Santos v. HEALTHCARE

 REVENUE RECOVERY GROUP, LLC, the court clarified that consumers can seek damages for

 willful reporting inaccuracies without needing to show financial harm. Similarly, Chase’s willful

 reporting of the debt, despite the state court's dismissal, constitutes a violation of the FCRA, and

 Plaintiff is entitled to damages under this standard.

 Chase’s reliance on Dacumos v. Toyota Motor Credit Corp., 287 F. Supp. 3d 1152 - Dist. Court,

 WD Washington 2017 is misplaced. In Dacumos v. Toyota Motor Credit Corp, the dismissal

 with prejudice occurred after the parties executed the release and settlement agreement, not at



                                                                                                   10
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1518 Filed 10/07/24 Page 11 of 29




 trial and on the merits. My case, like Jones v. ABERDEEN PROVING GROUND FEDERAL

 CREDIT UNION and Daniel v. MIDLAND FUNDING, LLC, Dist. Court, ED Michigan 2016,

 involves a dismissal on the merits, which extinguishes the debt and prevents further action.


 III. Chase Failed to Conduct Reasonable Investigations


 Chase’s claim that it conducted reasonable investigations into Plaintiff’s disputes is directly

 contradicted by both the FCRA and admissible evidence. The FCRA mandates that furnishers of

 information, like Chase, conduct thorough and meaningful investigations when disputes are

 raised. However, Chase’s investigations consistently failed to acknowledge the state court’s

 ruling, which dismissed the debt with prejudice on the merits. A reasonable investigation would

 have accounted for this court decision. Yet, Chase continued reporting the debt as if the

 dismissal had no bearing on the reported information (Bergunder v. JPMorgan Chase Bank,

 N.A., No. 2:23-cv-12886-SFC-EAS, ECF No. 34-16, PageID.883, ECF 34-18, PageID.989, ECF

 34-19, PageID.902, ECF 34-27 , PageID.936, & ECF 34-28, PageID.945 (E.D. Mich. Sept. 2,

 2024), Appendix L-P).

 The case of Daniel v. MIDLAND FUNDING, LLC highlights that a dismissal with prejudice

 serves as a final adjudication on the merits, preventing the re-litigation of claims. Chase's

 continued reporting of the debt, despite the adjudication, demonstrates a failure to conduct a

 reasonable investigation, violating the FCRA's accuracy standards. Barr v. Resolution Trust

 Corp. ex rel. Sunbelt Federal Savings, 837 S.W.2d 627 (Tex. 1992) further reinforces that once a

 matter has been adjudicated, all related claims that could have been raised must have been

 litigated at that time. Chase had ample opportunity to validate the debt during the state court case




                                                                                                   11
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1519 Filed 10/07/24 Page 12 of 29




 but failed to do so. As in . Barr v. Resolution Trust Corp. ex rel. Sunbelt Federal Savings, res

 judicata bars further attempts by Chase to assert the debt’s validity.

 Furthermore, Chase failed to provide essential documentation requested in Plaintiff’s

 reinvestigation letters (Bergunder v. JPMorgan Chase Bank, N.A., No. 2:23-cv-12886-SFC-EAS,

 on ECF 34-21, PageID910, ECF 34-22, PageID.916, & ECF 34-23, PageID.922, (E.D. Mich.

 Sept. 2, 2024), Appendix G green highlights). Specifically, Plaintiff requested a description of

 how the reinvestigation was conducted and documentation, along with the business name,

 address, and telephone number of the furnisher of information. Chase did not provide this

 documentation, violating their obligations under the Fair Credit Reporting Act (15 U.S.C. §

 1681i) (Bergunder v. JPMorgan Chase Bank, N.A., No. 2:23-cv-12886-SFC-EAS, ECF No. 34-

 27, PageID.936 & ECF No. 34-28, PageID.945, (E.D. Mich. Sept. 2, 2024), Appendix O & P),

 further emphasizing that they failed to perform a reasonable investigation.


 IV. The Reported Amount Was Challenged, Not Proven


 Chase’s continued reporting of an unproven debt defies both legal and procedural standards. In

 any legal proceeding, the validity of a debt hinges on evidence such as a contract or accurate

 calculations, none of which Chase provided. The State Court Case required Chase to substantiate

 the debt but, due to a lack of proof and many more issues, the case was dismissed with prejudice

 on the merits (Bergunder v. JPMorgan Chase Bank, N.A., No. 2:23-cv-12886-SFC-EAS, ECF

 No. 34-6, PageID.856-857, ECF No. 34-11, PageID. 867-871, & ECF 34-12, PageID.867-871,

 (E.D. Mich. Sept. 2, 2024), Appendix B, C, & D).

 The Santos v. HEALTHCARE REVENUE RECOVERY GROUP, LLC case emphasizes that

 consumer reporting agencies have a duty to ensure accuracy, even in cases involving technical



                                                                                                    12
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1520 Filed 10/07/24 Page 13 of 29




 errors or inaccurate information. Chase's failure to provide accurate and verifiable information

 about the debt mirrors the willful negligence seen in Santos v. HEALTHCARE REVENUE

 RECOVERY GROUP, LLC, where inaccurate reporting led to statutory damages. Like Santos v.

 HEALTHCARE REVENUE RECOVERY GROUP, LLC, Chase’s willful disregard for accuracy

 entitles me to damages under the FCRA.

 Additionally, Chase violated the Truth in Lending Act (TILA) by denying me access to full

 monthly statements after the account went into default. This denial, because of Plaintiff opting

 for paperless billing, prevented Plaintiff from receiving essential information mandated by law,

 which constitutes a TILA violation. Without these statements, I was unable to verify critical

 details including the fraud alerts Plaintiff received, which adds another layer of violation to

 Chase’s misconduct.

 Per MCL 445.1862, TILA violations trigger protections under Michigan State Law (Mich.

 Comp. Laws § § 445.1851 – 445.1864 (2024) (Exhibit A). Mich. Comp. Laws § 445.1856(1)(c)

 (2024) regulates the types and amounts of fees that can be charged. Under Michigan law: “Late

 fees cannot exceed $15 or 5% of the installment payment, whichever is greater (Mich. Comp.

 Laws § 445.1856(1)(c)).”

 Chase’s imposition of fees that exceed these limits is unlawful, and thus the amount reported on

 Plaintiff’s credit report is incorrect and violates state law, further invalidating the accuracy of the

 debt. MCL 445.1861 (1)(c) holds that each violation holds a “Recover $1,000.00 and actual

 damages if the alleged violation of this act was committed by a regulated lender for a non-credit

 card arrangement or $1,500.00 and actual damages if the alleged violation involved any other

 credit arrangements.” While MCL 445.1861(2) states “a regulated lender who violates this act in

 the extension of credit to a borrower or buyer shall not recover any interest or other charges in



                                                                                                      13
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1521 Filed 10/07/24 Page 14 of 29




 connection with the extension of credit. The borrower or buyer may recover reasonable attorney

 fees and court costs for enforcing this subsection or in defending against a cause of action

 brought by a regulated lender who has violated this act.” From Plaintiff’s credit reports, the

 amount allegedly owed only ever goes up thus proving that “any interest or other charges” as

 mandated by this law was not removed. If “any interest or other charges in connection with the

 extension of credit” was removed from the alleged account, and as Chase claims the account was

 opened two decades ago in September of 2003 (a fact Plaintiff does not accept as truth), then

 Chase most likely owes Plaintiff.

 CFPB (Consumer Financial Protection Bureau, Administrative Proceeding, In the Matter of

 Chase Bank, USA, N.A., and Chase BankCard Services, Inc., Consent Order, File No.

 2015-CFPB-0013 (July 8, 2015) (Appendix K) found that 9% of the judgements Chase obtained

 were greater than what the Consumers legally owed and included error in calculations. These

 erroneous amounts were stated in legal documents for debt collection case against Consumers.

 Without proper verification, authentication, and evidence – it’s possible the account in question

 is in that 9% with further miscalculations.


 V. Failure to Establish a Valid Contract


 Throughout the State Court Case proceedings, Chase repeatedly failed to produce the contract

 upon which it based its claim. As noted in Plaintiff Bergunder’s defense, "The court ordered that

 [the contract] be produced. It has not been produced (Bergunder v. JPMorgan Chase Bank, N.A.,

 No. 2:23-cv-12886-SFC-EAS, ECF No. 34-10, PageID.865, (E.D. Mich. Sept. 2, 2024)

 Appendix C).” Despite multiple orders across 3 hearings from the 45th District Court of




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Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1522 Filed 10/07/24 Page 15 of 29




 Michigan, Chase failed to present any documentation that would prove the existence of a valid

 contract governing the alleged debt.

 The Santos v. HEALTHCARE REVENUE RECOVERY GROUP, LLC case illustrates how crucial

 it is for furnishers to maintain accuracy in reporting, particularly when their reporting affects

 consumers’ creditworthiness. Similar to Santos v. HEALTHCARE REVENUE RECOVERY

 GROUP, LLC, where technical errors led to false information being disseminated, Chase’s failure

 to produce a valid contract and its continued reporting of inaccurate debt amounts demonstrate a

 blatant disregard for its obligations under both federal and state law. This failure not only

 undermines Chase's legal standing but also proves the inaccuracy of their reporting.

 The Jones v. Aberdeen Proving Ground Federal Credit Union case highlights the importance of

 ensuring that debts are accurately reported once a judgment has been satisfied. The Michigan

 Model Civil Jury Instructions (M Civ JI 6.01) provide further guidance on this issue, stating

 that when a party fails to produce evidence within their control, it can be inferred that such

 evidence would have been adverse to their position. Chase's inability to produce the contract or

 supporting documentation or admissible witness suggests that the contract may have contained

 illegal terms or practices, such as double-cycle billing, illegal fees, incorrect calculations, or non-

 adherence to the terms of the agreement, reinforcing the conclusion that Chase has no valid nor

 accurate claim to report the alleged debt.

 Finally, Franklin v. DOMINION ENERGY INCORPORATED, Dist. Court, D. Maryland 2022

 and Bouler v. TRANS UNION, LLC, Dist. Court, SD Texas 2019 support the general principle

 that a dismissal with prejudice extinguishes the underlying debt, preventing it from being

 pursued or reported. As in Franklin v. DOMINION ENERGY INCORPORATED, a final

 judgment prevents the re-litigation of claims. The Caruso v. NATIONAL RECOVERY AGENCY,



                                                                                                     15
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1523 Filed 10/07/24 Page 16 of 29




 Dist. Court, SD California 2017 case also reinforces that a dismissal with prejudice ends any

 legal obligation and prevents further reporting of the debt.

 VI. Chase’s Violation of Rule 26 of the Federal Rules of Civil Procedure

 Chase has also violated Rule 26(a) of the Federal Rules of Civil Procedure by submitting

 documents in their response to Plaintiff's Motion for Summary Judgment that were not

 previously disclosed during discovery. Rule 26 mandates that parties provide all relevant

 documents and evidence they plan to use to support their claims or defenses as part of their

 initial disclosures. Chase was required to provide Plaintiff with these documents before filing

 them in their response to her Motion for Summary Judgment. By failing to do so, Chase deprived

 Plaintiff of the opportunity to review and challenge these documents during the discovery

 process.

 Moreover, Plaintiff did not receive Chase’s witness list, as required by Rule 26(a)(1)(A), which

 mandates that parties disclose the identity of individuals likely to have discoverable information

 that they may use to support their claims or defenses. Chase, however, included a witness list in

 their court filings without ever disclosing it to Plaintiff in advance. This failure has prejudiced

 Plaintiff’s ability to respond adequately. Under Rule 26, the witness list should have been

 provided well before it was filed with the court, so that both parties could fairly evaluate and

 respond.

 Furthermore, Chase has ceased communication with Plaintiff since she began representing

 herself pro se, alleging that Plaintiff’s "sole purpose is to continue to delay (Exhibit C)" This

 baseless accusation has resulted in Chase avoiding meaningful communication and further

 neglecting their discovery obligations. Rule 26 requires open communication and full disclosure,

 and Chase’s actions have violated both the letter and the spirit of the rule.



                                                                                                       16
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1524 Filed 10/07/24 Page 17 of 29




 Under Rule 37(c)(1), a party that fails to disclose information or witnesses as required by Rule

 26(a) or (e) is not allowed to use that evidence or witnesses in support of a motion, at a

 hearing, or at trial, unless the failure was substantially justified or harmless. Chase has not

 provided any justification for their failure to disclose these documents or their witness list in

 advance. This non-disclosure has directly prejudiced Plaintiff, who was unable to address these

 issues fully in her own summary judgment filings.

 Plaintiff respectfully requests that the Court exclude any evidence, documents, or witnesses

 submitted by Chase in their response to Plaintiff’s Motion for Summary Judgment that were not

 disclosed during discovery, in accordance with Rule 37(c)(1).


 VII. Defendant's Evidence is Inadmissible


 In their opposition to Plaintiff’s Motion for Summary Judgment and Cross Motion for Summary

 Judgement, Defendant submitted various documents and exhibits to support their position.

 However, these documents have not been accompanied by any affidavits or declarations from a

 witness with personal knowledge who can authenticate or attest to the validity and accuracy of

 the documents. As such, the evidence provided by Defendant does not meet the admissibility

 requirements for summary judgment.

 Pursuant to Federal Rule of Civil Procedure 56(c)(4), "[a]n affidavit or declaration used to

 support or oppose a motion must be made on personal knowledge, set out facts that would be

 admissible in evidence, and show that the affiant or declarant is competent to testify on the

 matters stated." Additionally, for documents to be considered at the summary judgment stage,

 they must be properly authenticated. Authentication typically requires an affidavit or declaration




                                                                                                     17
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1525 Filed 10/07/24 Page 18 of 29




 from a custodian of the records or someone with personal knowledge of the documents, attesting

 to their authenticity and relevance.

 Federal Rule of Evidence 901(a) also requires that evidence be properly authenticated before it

 can be admitted. This means the proponent must provide “evidence sufficient to support a

 finding that the item is what the proponent claims it is.”

 Here, Defendant failed to submit any supporting affidavit or declaration to authenticate the

 documents attached to their response. Without such affidavits or declarations, the documents

 lack the necessary foundation and should be deemed inadmissible. Courts regularly exclude

 unauthenticated documents in summary judgment motions because such evidence cannot be

 relied upon to create genuine issues of material fact. As noted by the courts:

       Carmona v. Toledo, 215 F.3d 124, 131 (1st Cir. 2000): “Documents supporting or

        opposing summary judgment must be properly authenticated. The failure to authenticate a

        document properly precludes its consideration on a motion for summary judgment.”

       Orr v. Bank of Am., NT & SA, 285 F.3d 764, 773 (9th Cir. 2002): “Unauthenticated

        documents cannot be considered in a motion for summary judgment.”

 As such, the Defendant's documents, which have not been authenticated or verified through

 proper declarations or affidavits, are inadmissible and should not be considered by the Court in

 determining the outcome of this motion.

 Plaintiff respectfully requests that the Court disregard all evidence submitted by Defendant that

 lacks proper authentication, including any documents not supported by affidavits or declarations

 from a competent witness with personal knowledge.


 VIII. Chase Claims They Issued A Credit Card to a Minor




                                                                                                    18
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1526 Filed 10/07/24 Page 19 of 29




 Defendant's statements either reflect false assertions in their "Counter Statement of Disputed

 Facts" or suggest that they issued a credit card to a minor, which is a violation of the law. In

 September 2003, Plaintiff was only 15 years old, attending Queen of Peace High School, and

 legally ineligible to open a credit card account, as the minimum age requirement is 18.

 This discrepancy raises serious questions: Is this an instance of poor record-keeping by Chase, or

 does it suggest further unlawful conduct? Was this document truly created in 2003, or is it a more

 recent fabrication? How extensive are the issues with Chase’s records, and how much more

 erroneous and incorrect activity might be uncovered? Furthermore, there remains no clear

 evidence of a valid contract between Plaintiff and Chase. The Defendant’s reliance on such

 unsupported assertions, expecting trust in their attorneys' statements, amounts to hearsay.


 IX. Uniqueness of the Case


 What makes this case particularly unique is that few individuals successfully defend themselves

 in debt collection cases, and even fewer manage to take such cases to trial, let alone secure a

 dismissal with prejudice on the merits. According to the Justice for All Commission, which was

 created by the Michigan Supreme Court to evaluate the civil justice system in Michigan, only

 2.17% of credit card debt collection cases are dismissed with prejudice in the state of Michigan

 (Michigan Debt Collection Data Dashboard, January Advisors,

 https://januaryadvisors.shinyapps.io/michigan-debt-

 app/_w_7b5599a3/_w_543a6423/_w_1eb63215/_w_05febedc/_w_a3475c8e/_w_b5514cfc/_w_b

 ab9b140/_w_b091bbbd/_w_ef58b461/ (last visited 10/06/2024).; Exhibit B); there is no statistic

 on how many were on the merits or even went to trial.




                                                                                                    19
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1527 Filed 10/07/24 Page 20 of 29




 The rarity of Plaintiff’s dismissal with prejudice on the merits outcome underscores the

 significance of this case: Chase not only failed to meet the court’s demands for evidence but has

 also attempted to undermine the finality of the state court’s ruling by continuing to report the

 debt as valid. In a debt collection landscape where creditors often prevail, the state court’s ruling

 in favor of Plaintiff Bergunder is a remarkable and decisive outcome. A fact ignored by Chase in

 their investigation and reinvestigations – despite having the details of the trial in front of them -

 as they reported over and over, again and again, seven times that they were correct and accurate.


 X. Conclusion


 The State Court decision – which occurred on the merits on the day of trial - was the final

 decision on the issue or adjudication, so how Chase personally views the alleged debt is

 irrelevant as Chase’s views do not supersede Court’s rulings. This case is not an appeal of that

 ruling, therefore given how humans experience time in a linear fashion, that ruling stands.

 For the reasons stated, Plaintiff respectfully requests that the Court grant her Motion for

 Summary Judgment, deny Chase's Cross-Motion for Summary Judgment, and declare that the

 reporting of the disputed alleged debt is inaccurate and in violation of the FCRA.

 WHEREFORE, Plaintiff prays for the relief requested in her initial motion, along with any

 further relief the Court deems just and proper.

                                                                               Respectfully submitted,

                                                                          By:_/s/ Katrina Bergunder
                                                                                   Katrina Bergunder
                                                                                 24674 Republic Ave
                                                                                 Oak Park, MI 48237
                                                                                      (773)853-7085
 Dated: October 7, 2024                                                                      Pro Per




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Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1528 Filed 10/07/24 Page 21 of 29




                    LIST AND INDEX OF APPENDIXES AND EXHIBITS
  Appendix A   Defenses Raised by Bergunder in State Court Case, ECF No. 34-4;
               PageID.850-851
  Appendix B   45th District Court PreTrial Order, Ecf 34-6, PageID.856-857

  Appendix C   Motion to Dismiss in State Court Case, ECF 34-10, PageID.865

  Appendix D   Trial transcript ECF 34-11, PageID.867-871


  Appendix E   Truestamped copy of Dismissal with Prejudice Order, ECF34-12, PageID.873

  Appendix F   Experian Dispute ECF No.34-13, PageID.875; Equifax Disputes, ECF No. 34-
               14, PageID.878, Transunion Dispute, ECF No. 34-15, PageID.881
  Appendix G   Reinvestigation Requests: Experian ECG No. 34-21, PageID.910-914; Equifax
               ECF 34-22, PageID.916-920; Transunion ECF No. 34-23, PageID.922-926
  Appendix H   Letters to Chase: First ECF No. 34-20, PageID.904-908; Second EFC No. 34-
               24, PageID.928-929
  Appendix I   Affidavit of Katrina Bergunder, ECF No. 34-2, PageID.840-844

  Appendix J   Grimmer v Lee, ECF No. 34-44, PageID.1243-1246

  Appendix K   Consumer Financial Protection Bureau, Administrative Proceeding, In the
               Matter of Chase Bank, USA, N.A., and Chase BankCard Services, Inc.,
               Consent Order, File No. 2015-CFPB-0013 (July 8, 2015), ECF 34-42,
               pgid.1211
  Appendix L   Experian Dispute Results, ECF No. 34-16, PageID.883

  Appendix M   Equifax Dispute Results, ECF No. 34-18, PageID.989

  Appendix N   Credit Scores Go Down after Disputes, ECF No. 34-19, PageID.902

  Appendix O   Experian Reinvestigation Results, ECF No. 34-27, PageID.936

  Appendix P   Equifax Reinvestigation Results, ECF No. 34-28, PageID.945

  Appendix Q   TransUnion Reinvestigation Results, ECF No. 34-29, PageID.951




                                                                                           21
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1529 Filed 10/07/24 Page 22 of 29




  Appendix R    Equifax Credit Report ECF No.34-37 , PageID.1059-1062

  Appendix S    Experian Credit Report, ECF No.34-36, PageID.1016-1018

  Appendix T    Experian Dispute Results, ECF No. 34-16, PageID.883-885

  Exhibit A     Michigan State Law (Mich. Comp. Laws § § 445.1851 – 445.1864 (2024)

  Exhibit B     Justice For All Commission Chart

  Exhibit C     04/26/2024 Communication from Opposing Counsel

  Exhibit D     Michigan Model Civil Jury Instructions (M Civ JI 6.01)

  Exhibit E     Carmona v. Toledo, 215 F.3d 124, 131 (1st Cir. 2000)



  Exhibit F     Santos v. HEALTHCARE REVENUE RECOVERY GROUP, LLC, 90 F. 4th
                1144 - Court of Appeals, 11th Circuit 2024
  Exhibit G     Jones v. ABERDEEN PROVING GROUND FEDERAL CREDIT UNION, Dist.
                Court, D. Maryland 2022



                                                                         Respectfully submitted,

                                                                   By:_/s/ Katrina Bergunder
                                                                            Katrina Bergunder
                                                                          24674 Republic Ave
                                                                          Oak Park, MI 48237
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 Dated: October 7, 2024                                                               Pro Per




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Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1530 Filed 10/07/24 Page 23 of 29




                                          Certificate of Service
 I, Katrina Bergunder, a citizen of Michigan and the United States, hereby certify that on October

 7, 2024 I electronically filed ("e-filed") the PLAINTIFF’S REPLY FOR MOTION FOR

 SUMMARY JUDGEMENT and RESPONSE TO DEFENDANT’S CROSS MOTION FOR

 SUMMARY JUDGEMENT with the Court and served it upon all parties in accordance with the

 procedures established by the Court. In addition, a hard copy on one side only and tabbed to

 Chambers has been mailed to the courthouse by United States Postal Service.

 I served all parties entitled to notice with the foregoing document by electronic filing and

 service to each respective address on October 7, 2024

                                                                        By:_/s/ Katrina Bergunder

                                                                                 Katrina Bergunder

                                                                               24674 Republic Ave

                                                                               Oak Park, MI 48237

                                                                                     (773)853-7085

 Dated: October 7, 2024                                                                     Pro Per




                                                                                                23
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1531 Filed 10/07/24 Page 24 of 29




                         UNITED STATES DISTRICT COURT FOR
                         THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 Katrina Bergunder,
 Plaintiff,                                                                     Case No. 23-12886
 v.                                                                              Hon. Sean F. Cox
 JPMorgan Chase Bank, N.A.,
 Defendant.

  Katrina Bergunder                                Aimee R. Gibbs (P70522)
  24674 Republic Ave                               Davina A. Bridges (P85597)
  Oak Park, MI 48237                               DICKINSON WRIGHT PLLC
  (773) 853-7085                                   350 S. Main Street, Suite 300
  Bergunki@msn.com                                 Ann Arbor, MI 48104
  Pro Per                                          (734)-623-1653
                                                   agibbs@dickinsonwright.com
                                                   dbridges@dickinsonwright.com

                                                   Attorneys for Defendant JPMorgan
                                                   Chase Bank, N.A


                  PLAINTIFF’S COUNTER-STATEMENT OF DISPUTED FACTS
 Plaintiff Katrina Bergunder (“Plaintiff”), appearing pro per, submits its Counter-Statement of

 Disputed Facts in response Defendant JPMorgan Chase Bank, N.A. (“Defendant”) Statement of

 Undisputed Facts, and reattaches her Statement of Material Facts Not in Dispute.

                      COUNTER-STATEMENT OF DISPUTED FACTS

    1. Denied. Defendant’s assertions are unsupported by admissible evidence, as they rely on

        documents not disclosed during discovery in violation of Rule 26(a) of the Federal Rules

        of Civil Procedure. Furthermore, the evidence is inadmissible under Rule 56(c)(4) as it

        lacks the necessary affidavits, witness testimony, or proper authentication. Additionally,

        Plaintiff objects to the use of unauthenticated documents and denies any allegation

        suggesting Plaintiff was issued a credit card while legally ineligible as a minor.



                                                                                                  24
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1532 Filed 10/07/24 Page 25 of 29




       2-12. Denied. Plaintiff objects to all assertions in paragraphs 2 through 12 for the same

       reasons stated above. Defendant has failed to disclose these documents during discovery,

       and they are not accompanied by admissible evidence such as sworn affidavits or

       certifications. Plaintiff also objects to Defendant’s reliance on hearsay or unauthenticated

       documents to support their claims. Furthermore, admissible evidence contradicts these

       claims including across several different reports marking paid “$0 on 11/17/2020” (ECF

       No. 34-16, PageID.884; ECF No. 34-36, PageID.1017, ECF No.34-16 PageID.884-885) ,

       the account in question as “paid on time” in December of 2020, a credit limit available

       for July 2023, August 2023, and October 2023 contradicting the account being “charged

       off” (ECF No. 34-37, PageID.1060), and the “Delinquency First Reported” as May 2023

       (ECF No.34-37, PageID.1062) which would re-age the account resulting in it’s negative

       reporting lasting years longer (Bergunder v. JPMorgan Chase Bank, N.A., No. 2:23-cv-

       12886-SFC-EAS, ECF No.34-37 , PageID.1059-1062, ECF No.34-36, PageID.1016-

       1018, & ECF No. 34-16, PageID.883-885 (E.D. Mich. Sept. 2, 2024), Appendix R, S, &

       T).

    13. Denied in part, admitted in part. Plaintiff acknowledges that a collection action was

       filed in January 2022 by Chase, but denies any admission of the debt's validity, the

       amount alleged, or any proper documentation to support the debt was provided to the

       Court as they ordered.

       14-15. Denied in part, admitted in part. Plaintiff acknowledges that the case was

       dismissed with prejudice but denies Defendant’s characterization of the dismissal. The

       dismissal was with prejudice on the merits and at trial, and any attempt to relitigate the

       debt’s validity is precluded by res judicata principles.



                                                                                                    25
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1533 Filed 10/07/24 Page 26 of 29




    16. Denied. Plaintiff objects to Defendant’s characterization of the court dismissal as merely

       procedural. The dismissal with prejudice at trial was an adjudication on the merits that

       settled the validity of the alleged debt; the amount allegedly owed was challenged, other

       defenses raised, and at trial on the merits the case was dismissed with prejudice

       (Bergunder v. JPMorgan Chase Bank, N.A., No. 2:23-cv-12886-SFC-EAS, ECF No. 34-

       44, PageID.1243-1246, (E.D. Mich. Sept. 2, 2024) Appendix A, B, C, D, & E).

       17-20. Denied in part, admitted in part. Plaintiff disputes Defendant’s statements

       regarding the letters and credit reports, as they have not been authenticated, and there is

       no proof of certified mail. While Plaintiff did receive correspondence, no admissions

       regarding the validity of the debt are made.

       21-24. Denied in part, admitted in part. Plaintiff objects to the evidence submitted by

       Defendant, which was not disclosed during discovery, in violation of Rule 26(a) of the

       Federal Rules of Civil Procedure. The chart is inadmissible as it is not supported by any

       affidavit, witness testimony, or other competent evidence required under Rule 56(c)(4).

       Plaintiff acknowledges submitting disputes and reinvestigations to the credit reporting

       agencies but denies any characterization that validates the debt. Furthermore, Chase

       failed to provide essential documentation requested in Plaintiff’s reinvestigation letters.

       Specifically, Plaintiff requested a description of how the reinvestigation was conducted,

       documentation, along with the business name, address, and telephone number of the

       furnisher of information (Bergunder v. JPMorgan Chase Bank, N.A., No. 2:23-cv-12886-

       SFC-EAS, ECF No. 34-21, PageID.910, ECF No. 34-22, PageID.916, & ECF No. 34-23,

       PageID.922 (E.D. Mich. Sept. 2, 2024), Appendix G highlighted green). Chase did not

       provide this documentation, violating their obligations under the Fair Credit Reporting



                                                                                                     26
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1534 Filed 10/07/24 Page 27 of 29




       Act (15 U.S.C. § 1681i) (Bergunder v. JPMorgan Chase Bank, N.A., No. 2:23-cv-12886-

       SFC-EAS, ECF No. 34-27, PageID.936, ECF No. 34-28, PageID.945, & ECF No. 34-29,

       PageID.951 (E.D. Mich. Sept. 2, 2024), Appendix O & P highlighted green). Therefore,

       the evidence should not be considered in this summary judgment motion. TransUnion's

       removal of the tradeline further supports Plaintiff's position that Chase’s reporting is

       inaccurate following the state court’s dismissal with prejudice on the merits (Bergunder

       v. JPMorgan Chase Bank, N.A., No. 2:23-cv-12886-SFC-EAS, ECF No. 34-29,

       PageID.951 (E.D. Mich. Sept. 2, 2024), Appendix Q).


                            NO GENUINE ISSUES OF MATERIAL FACT
       Plaintiff contends that there are no genuine issues of material fact that would require

       resolution at trial. The following facts are undisputed and warrant summary judgment in

       Plaintiff's favor:

    1. The State Court’s dismissal with prejudice extinguished the underlying debt:

           o   The state court’s order dismissed the debt collection case with prejudice on the

               merits, which acts as a final adjudication that extinguishes the alleged debt. This

               fact is not in genuine dispute and precludes Chase from continuing to report the

               debt as valid and charged off.

    2. Chase has failed to provide admissible, authenticated evidence of the alleged debt:

           o   Chase has not produced sufficient admissible evidence to substantiate the

               existence, amount, enforceability of the alleged debt, or satisfaction for dispute

               and reinvestigation . Chase has failed to authenticate key documents as required

               by the Federal Rules of Evidence, leaving no genuine issue regarding the lack of

               evidence to support its claim.


                                                                                                    27
Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1535 Filed 10/07/24 Page 28 of 29




    3. Chase’s reporting of the alleged debt violates the Fair Credit Reporting Act:

           o   Chase continued to report the alleged debt as charged off, despite the state court’s

               dismissal with prejudice on the merits. This constitutes a violation of the Fair

               Credit Reporting Act (FCRA), as Chase’s reporting is legally inaccurate in light

               of the final judgment.

    4. Chase did not conduct a reasonable investigation into Plaintiff’s disputes under the

       FCRA:

           o   Chase failed to conduct a reasonable investigation into Plaintiff’s disputes,

               particularly by disregarding the state court ruling that dismissed the debt with

               prejudice. The undisputed evidence shows that Chase’s investigation was

               insufficient, which is a violation of the FCRA.



                                                                           Respectfully submitted,

                                                                       By:_/s/ Katrina Bergunder
                                                                                 Katrina Bergunder
                                                                               24674 Republic Ave
                                                                               Oak Park, MI 48237
                                                                                    (773)853-7085
 Dated: October 7, 2024                                                                     Pro Per




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Case 2:23-cv-12886-SFC-EAS ECF No. 37, PageID.1536 Filed 10/07/24 Page 29 of 29




                                          Certificate of Service
    I, Katrina Bergunder, a citizen of Michigan and the United States, hereby certify that on

    October 7, 2024 I electronically filed ("e-filed") the PLAINTIFF’S COUNTER-

    STATEMENT OF DISPUTED FACTS with the Court and served it upon all parties in

    accordance with the procedures established by the Court. In addition, a hard copy on one side

    only and tabbed to Chambers has been mailed to the courthouse by United States Postal

    Service.

    I served all parties entitled to notice with the foregoing document by electronic filing and

    service to each respective address on October 7, 2024

                                                                       By:_/s/ Katrina Bergunder
                                                                               Katrina Bergunder
                                                                              24674 Republic Ave
                                                                              Oak Park, MI 48237
                                                                                   (773)853-7085
 Dated: October 7, 2024                                                                  Pro Per




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